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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA ) Case No. 1:21-CR-175-TJK

Vv.

)
)
ETHAN NORDEAN, et al. )
)

Defendants

ORDER

Witness Hendrick Block’s Motion to Quash Subpoena is hereby granted. The
court recognizes that Mr. Block cannot be compelled to testify if he asserts his Fifth
Amendment rights, and it would be contrary to the ends of judicial economy for
him to travel to this court from California for the purpose of asserting these rights

when his counsel has stated that he will invoke them.

SO ORDERED, this day of January 2023.

 

Timonthy J. Kelly
United States District Judge
